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EXHIBITS

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

HOMEVESTORS OF AMERICA, INC.,
Plaintiff,
C.A. No. 22-1583-RGA

V.

WARNER BROS, DISCOVERY, INC.,

mee meee Nee See” Nee eee eee”

Defendant.

PLAINTIFF’S THIRD AMENDED INITIAL DISCLOSURES
Plaintiff HomeVestors of America, Inc. (““HomeVestors”) provides the following third
amended initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure,
based on the information reasonably available to HomeVestors as of the date of these disclosures.
A. The name and, if known, the address and telephone number of each individual likely

to have discoverable information, along with the subjects of that information, that the
disclosing party may use to support its claims or defenses, unless the use would be

solely for impeachment,

Larry Goodman
Chief Executive Officer

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Goodman is the CEO of HomeVestors and has
knowledge about HomeVestors’ business, operations,
and marketing; HomeVestors’ trademarks and
intellectual property; advertising and sales of goods
and services under the UGLY HOUSES marks;
potential consumer confusion; and dilution of the
UGLY HOUSES marks.

David Hicks
Former Chief Executive Officer

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Hicks is the former CEO of HomeVestors and has
knowledge about HomeVestors’ business, operations,
and marketing; HomeVestors’ trademarks and
intellectual property; advertising and sales of goods
and services under the UGLY HOUSES marks;
potential consumer confusion; dilution of the UGLY
HOUSES marks; and discussions with representatives
of HGTV.

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Bonnie DePasse
Former General Counsel

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dailas, TX 75201
214-969-1700

Ms. DePasse is the former General Counsel of
HomeVestors and has knowledge about
HomeVestors’ allegations in the Complaint; the
UGLY HOUSES Marks (as that term is defined in the
Complaint), including their registration, use, fame,
goodwill, licensing, and enforcement activities;
HomeVestors’ advertising and sales of goods and
services under the UGLY HOUSES marks; potential
consumer confusion; and dilution of the UGLY
HOUSES marks.

Marco Icaza

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Icaza is a HomeVestors franchisee and has
knowledge of interactions with a producer associated

| with HGTV about a potential collaboration.

Joseph Isaac
Former Chief Financial Officer

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Isaac was the CFO of HomeVestors and has
knowledge about HomeVestors’ business, operations,
and marketing; advertising and sales of goods and
services under the UGLY HOUSES marks;
HomeVestors’ finances; and costs and damages
associated with WBD’s unlawful actions.

Josh Gorena
Controller

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Me. Gorena is the Controller of HomeVestors and has
knowledge about HomeVestors’ business, operations,
and marketing; advertising and sales of goods and
services under the UGLY HOUSES marks;
HomeVestors’ finances; and costs and damages
associated with WBD’s unlawful actions.

Anthony Lowenberg
General Counsel

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Lowenberg is the General Counsel of
HomeVestors and has knowledge about
HomeVestors’ allegations in the Complaint; the
UGLY HOUSES Marks (as that term is defined in the
Complaint), including their registration, use, fame,
goodwill, licensing, and enforcement activities;
HomeVestors’ advertising and sales of goods and
services under the UGLY HOUSES marks; potential
consumer confusion; and dilution of the UGLY
HOUSES marks.

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Megan Dredla Hoyt
Deputy General Counsel

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Ms. Hoyt is the Deputy General Counsel of
HomeVestors and has knowledge about
HomeVestors’ allegations in the Complaint; the
UGLY HOUSES Marks (as that term is defined in the
Complaint), including their registration, use, fame,
goodwill, licensing, and enforcement activities;
HomeVestors’ advertising and sales of goods and
services under the UGLY HOUSES marks; potential
consumer confusion; and dilution of the UGLY
HOUSES marks.

Jo Rivera
Owner, Snapshot Real Estate
Solutions, Inc.

c/o Holland & Knight LLC
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Rivera is the owner of a HomeVestors franchise
with a territory that includes Delaware and has
knowledge regarding HomeVestors’ business
activities in the state, including marketing, advertising
practices, and lead generation.

Rob J. Sturrock
Owner, Sturrock-Hotz DA Group,
LLC

c/o Holland & Knight LLC
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Mr. Sturrock is a development agent for HomeVestors
who has knowledge regarding HomeVestors’ business
model, franchisees’ operations, marketing, advertising
practices, and lead generation.

Dana Trexler
Managing Director, Stout

c/o Holland & Knight LLC
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

Ms. Trexler is an expert in quantifying damages in
intellectual property and complex commercial
disputes and may provide expert opinions regarding
damages in this case, including, but not limited to,
disgorgement of WBD’s profits for the show
UGLIEST HOUSE IN AMERICA.

Corporate Representative(s) of
HomeVestors

c/o Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
214-969-1700

HomeVestors’ allegations in the Complaint; the
UGLY HOUSES Marks (as that term is defined in the
Complaint), including their registration, use, fame,
goodwill, licensing, and enforcement activities;
HomeVestors’ advertising and sales of goods and
services under the UGLY HOUSES marks; potential
consumer confusion; and dilution of the UGLY
HOUSES marks.

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Calise Partners, LLC d/b/a
Imaginuity and AdVestors

c/o Haynes & Boone, LLP
2801 N. Harwood Street
Suite 2300

Dallas, TX 75201
214,651.5000

The UGLY HOUSES Marks (as that term is defined
in the Complaint), including their use, fame, and
goodwill; HomeVestors’ advertising and sales of
goods and services under the UGLY HOUSES marks;
potential consumer confusion; dilution of the UGLY
HOUSES marks; and discussions with Big Fish
Entertainment regarding coordination/collaboration
regarding HGTV’s forthcoming Ugliest House in
America show.

Charlie Calise
Calise Partners, LLC d/b/a
Imaginuity and AdVestors

c/o Steven Callahan

Charhon Callahan Robson & Garza,
PLLC

3333 Lee Parkway, Suite 460
Dallas, Texas 75219

(469) 587-7240

Mr. Calise has knowledge about the UGLY HOUSES
Marks (as that term is defined in the Complaint),
including their use, fame, and goodwill; and
HomeVestors’ marketing and advertising under the
UGLY HOUSES marks.

Lea Tyner
Calise Partners, LLC d/b/a
Imaginuity and AdVestors

c/o Steven Callahan

Charhon Callahan Robson & Garza,
PLLC

3333 Lee Parkway, Suite 460
Dallas, Texas 75219

(469) 587-7240

Ms. Tyner has knowledge about the UGLY HOUSES
Marks (as that term is defined in the Complaint),
including their use, fame, and goodwill; and
HomeVestors’ advertising under the UGLY HOUSES
marks.

Ariel Herr
Calise Partners, LLC d/b/a
Imaginuity and AdVestors

c/o Steven Callahan

Charhon Callahan Robson & Garza,
PLLC

3333 Lee Parkway, Suite 460
Dallas, Texas 75219

(469) 587-7240

Ms. Herr has knowledge about the UGLY HOUSES
Marks (as that term is defined in the Complaint),
including their use, fame, and goodwill;
HomeVestors’ advertising under the UGLY HOUSES
marks; potential consumer confusion; dilution of the
UGLY HOUSES marks; and discussions with Big
Fish Entertainment regarding
coordination/collaboration regarding HGTV’s
forthcoming Ugliest House in America show.

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Development of the Ugliest House in America
television show; discussions with HomeVestors
regarding coordination/collaboration regarding
HGTV’s forthcoming Ugliest House in America
show; Defendant’s role in the development of the
show, selection of the name, and discussions with
HomeVestors.

Big Fish Entertainment

101 Hudson Street, 40th Floor
Jersey City, NJ, 07302

Development of the Ugliest House in America
television show; selection of the name of the show;
contest(s) associated with the show; solicitation of
homeowners as contestants for the show;
Corporate Representative(s) of discussions/coordination with Big Fish Entertainment
Defendant regarding the development of the show; attempted
coordination/collaboration with HomeVestors
regarding HGTV’s forthcoming Ugliest House in
America show; Defendant’s profits associated with
the show and other uses of the mark UGLIEST
HOUSE IN AMERICA; and Defendant’s defenses.

Mr. El Moussa and his companies, including Tarek
Buys Houses LLC, has knowledge of HomeVestors
Tarek El Moussa and his companies, | and about the UGLY HOUSES Marks (as that term ts
including Tarek Buys Houses LLC defined in the Complaint), and knowledge about |
shows on HGTV, including the show he hosts called
Flip or Flop.

Mr. Morby is a former HomeVestors franchisee and
cutrent cohost of the A&E TV series, Triple Digit
Flip, and runs a real estate investing community called

Pace Morby and his companies, SubTo. Mr. Morby and his companies have
including NRE 1, LLC (d/b/a/ knowledge of HomeVestors and about the UGLY
SubTo} HOUSES Marks (as that term is defined in the

Complaint), and knowledge about home
remodeling/flipping shows, including Triple Digit
Flip.

HomeVestors reserves the right to identify other persons it later determines are likely to
have discoverable information and that it may use to support its claims. And HomeVestors

additionally reserves the right to call any witnesses identified in Defendant’s initial disclosures.

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A copy of, or a description by category and location of, all documents, electronically
stored information, and tangible things that the disclosing party has in its possession,
custody, or control and may use to support its claims or defenses, unless the use would
be solely for impeachment.

1. Documents regarding HomeVestors’ federal registrations and maintenance filings
with the USPTO for the UGLY HOUSES Marks.

2. Documents regarding the use of the UGLY HOUSES Marks, including first use.

3. Documents regarding the goods and services offered by HomeVestors using the
UGLY HOUSES Marks.
4, Documents regarding Defendant’s infringing activities.

5. Documents regarding advertising and promoting the UGLY HOUSES Marks.

6. Documents regarding advertising, promoting, and use of the UGLIEST HOUSE
OF THE YEAR Marks.

7. Documents regarding discussions between HomeVestors and Big Fish
Entertainment regarding potential coordination regarding the forthcoming Ugliest
House in America show.

8. Documents bearing on the facts and defenses alleged in the Complaint and any
subsequently pleadings.

Listing these documents shall not constitute a waiver of HomeVestors’ right to object to

the production or disclosure of any information or any documents on any ground.

HomeVestors reserves the right to identify other documents disclosed during discovery or

documents it subsequently determines are relevant to the disputed facts in this case.

Cc.

A computation of any category of damages claimed by the disclosing party, making
available for inspection and copying as under Rule 34, the documents or other
evidentiary material, unless privileged or protected from disclosure, on which each
computation is based, including materials bearing on the nature and extent of injuries
suffered.

HomeVestors secks the following categories of damages: Defendant’s profits,

HomeVestors’ actual damages, and reasonable royalties owed to HomeVestors; treble damages;

and statutory damages. HomeVestors also seeks to recover its reasonable attorneys’ fees and costs

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and all available remedies requested in its pleadings. Discovery has only just begun. Thus,
HomeVestors has not calculated its precise damages at this time, and reserves its right to
supplement these disclosures.

D. For inspection and copying as under Rule 34, any insurance agreement under which

an insurance business may be liable to satisfy all or part of a possible judgment in the
action or to indemnify or reimburse for payments made to satisfy the judgment,

None.

OF COUNSEL:

HOLLAND & KNIGHT LLP
Justin 8. Cohen

Justin. Cohen@hklaw.com
Dina W. McKenney
Dina.McKenney@hklaw.com
One Arts Plaza

1722 Routh St., Suite 1500
Dallas, TX 75201
214-969-1700

Cynthia A. Gierhart
HOLLAND & KNIGHT LLP
Cindy .Gierhart@hklaw.com
800 17th Street NW, Suite 1100
Washington, DC 20006

Dated: July 26, 2024

/s/ Kelly £. Farnan

Kelly E. Farnan (#4395)
Christine D, Haynes (#4697)
Richards, Layton & Finger, P.A.
One Rodney Square

920 North King Street
Wilmington, DE 19801

(302) 651-7700

farnan@rlf.com
haynes@rif.com

Attorneys for Plaintiff
Home Vestors of America, Inc.

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CERTIFICATE OF SERVICE

I hereby certify that on July 26, 2024, true and correct copies of the foregoing document

were served, via e-mail, on the following:

BY E-MAIL BY EMAIL

Michael J. Flynn Aaron J. Moss

Jennifer Ying Joshua Geller

Morris, Nichols, Arsht & Tunnel] LLP Greenberg Glusker Fields Claman &
1201 N. Market Street Machtinger LLP

P, O. Box 1347 2049 Century Park East
Wilmington, DE 19801 Suite 2600

Los Angeles, CA 90067

/s/ Christine D. Haynes
Christine D. Haynes (#4697)
haynes@rlf.com

